     Case 4:19-cr-00528-JM Document 71 Filed 10/25/22 Page 1 of 8




                           United States District Court
                           Eastern District of Arkansas

United States of America                                                   Plaintiff

v.                             Case No. 4:19-cr-00528-JM

Ramien Collins                                                          Defendant

                Motion for Leave to Proceed In Forma Pauperis

     1. On September 28, 2022, the Court entered the judgment in this criminal

        case. (R. Doc. 65). On October 12, 2022, Ramien Collins filed a timely notice

        of appeal. (R. Doc. 68).

     2. Ramien Collins does not have any income, therefore, he cannot pay the

        court fees and costs associated with an appeal of his conviction. To that end,

        he has attached to this motion a financial affidavit that demonstrates his

        inability to pay the court fees and costs associated with an appeal of his

        conviction.

     3. Based on the foregoing, Ramien Collins requests that the Court enter an

        order declaring him indigent for the purposes of the appeal of his conviction

        and authorizing him to proceed without paying court fees and costs.

                                       Respectfully submitted,

                                       Jimmy C. Morris, Jr.
                                       Bar Number 2007134
                                       Attorney for the Defendant,
                                       Ramien Collins
                                       Morris & Associates, PA
                                       221 West Second Street, Suite 630
                                       Little Rock, Arkansas 72201-2587
                                       Telephone: (501) 960-6634
Case 4:19-cr-00528-JM Document 71 Filed 10/25/22 Page 2 of 8




                           E-mail: j.c.morrisatty@gmail.com




                             2
Case 4:19-cr-00528-JM Document 71 Filed 10/25/22 Page 3 of 8
Case 4:19-cr-00528-JM Document 71 Filed 10/25/22 Page 4 of 8
Case 4:19-cr-00528-JM Document 71 Filed 10/25/22 Page 5 of 8
Case 4:19-cr-00528-JM Document 71 Filed 10/25/22 Page 6 of 8
Case 4:19-cr-00528-JM Document 71 Filed 10/25/22 Page 7 of 8
Case 4:19-cr-00528-JM Document 71 Filed 10/25/22 Page 8 of 8
